                              UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                    at CHATTANOOGA

UNITED STATES OF AMERICA                        )       COLLIER/CARTER
                                                )
       v.                                       )       CASE NO. 1:10-CR-131
                                                )
KENNETH LEE JONES                               )



                              REPORT AND RECOMMENDATION

       Pursuant to 28 U.S.C. § 636(b), I conducted a plea hearing in this case on December 9,

2010. At the hearing, defendant entered a plea of guilty to Count Two of the Indictment in

exchange for the undertakings made by the government in the written plea agreement. On the

basis of the record made at the hearing, I find that the defendant is fully capable and competent

to enter an informed plea; that the plea is made knowingly and with full understanding of each of

the rights waived by defendant; that it is made voluntarily and free from any force, threats, or

promises, apart from the promises in the plea agreement; that the defendant understands the

nature of the charge and penalties provided by law; and that the plea has a sufficient basis in fact.

       I therefore recommend that defendant's plea of guilty to Count Two of the Indictment be

accepted, that the Court adjudicate defendant guilty of the charges set forth in Count Two of the

Indictment, and that the written plea agreement be accepted at the time of sentencing. I further

recommend that defendant remain in custody until sentencing in this matter. Acceptance of the

plea, adjudication of guilt, acceptance of the plea agreement, and imposition of sentence are

specifically reserved for the district judge.

       The defendant’s sentencing date is scheduled for Thursday, April 21, 2011, at 9:00 am.


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                                             s/William B. Mitchell Carter
                                             UNITED STATES MAGISTRATE JUDGE




                                     NOTICE TO PARTIES

        You have the right to de novo review of the foregoing findings by the district judge. Any
application for review must be in writing, must specify the portions of the findings or
proceedings objected to, and must be filed and served no later than fourteen days after the plea
hearing. Failure to file objections within fourteen days constitutes a waiver of any further right
to challenge the plea of guilty in this matter. See 28 U.S.C. §636(b).




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